      Case 2:07-cr-20076-RHC-RSW ECF No. 515, PageID.2016 Filed 08/12/15 Page 1 of 1
MIE 3                           Order of the Court to Dismiss Recall Summons
Revised 07/12
                                   UNITED STATES DISTRICT COURT
                                                 for the
                                       Eastern District of Michigan


UNITED STATES OF AMERICA

                v.

GUNTER, Jerry                                                        Crim. No.: 0645 2:07CR20076-8

On 02/26/2015 the Court authorized a petition and warrant for probation violation charges.
         The probation department is recommending that the violation petition be dismissed and the
         warrant be recalled and supervision continued to the original expiration date.


Reviewed and Approved:                                         Respectfully submitted,


s/Tracy Kosmas                                                 s/Marc W. Calandra
Supervising United States Probation Officer                    United States Probation Officer

                                           ORDER OF THE COURT

                Pursuant to the above, it is ordered that the pending violation matter be resolved and
                supervision in this case be continued. All conditions imposed at the time of
                sentencing, along with any subsequent modifications to those conditions, remain in
                effect.



                                                               s/Robert H. Cleland
                                                               Robert H. Cleland
                                                               United States District Judge
Dated: August 12, 2015

cc: U.S. Marshal
